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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

    PAUL V. MORINVILLE,                                  §
                                                         §
          Plaintiff,                                     §
                                                         §
    v.                                                   §        Civil Action No. 4:20-cv-980-KPJ
                                                         §
    OVERWATCH DIGITAL HEALTH,                            §
    INC., et al.,                                        §
                                                         §
          Defendants.                                    §

                                          SCHEDULING ORDER

          The Court, after review of the pleaded claims and defenses in this case and the parties' Joint

Rule 26(f) Report, as well as the record of the Scheduling Conference held on May 18, 2021, enters

this case-specific Order which controls disposition of this action pending further order of the Court.

The following actions shall be completed by the date indicated.1

             Deadline                                                  Activity

    May 25, 2021                     Deadline for motions to transfer.

    June 18, 2021                    Deadline to add parties.

    June 25, 2021                    Plaintiff’s disclosure of expert testimony pursuant to Federal
                                     Rule of Civil Procedure 26(a)(2) and Local Rule CV-26(b).

    July 2, 2021                     Deadline for Plaintiff to file amended pleadings. A motion for
                                     leave to amend is not necessary.2

    July 16, 2021                    Defendant’s disclosure of expert testimony pursuant to Federal
                                     Rule of Civil Procedure 26(a)(2) and Local Rule CV-26(b).


1
  If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Federal Rule of Civil Procedure 6, the
effective date is the first federal court business day following the deadline imposed.
2
  No amended pleadings may be filed after this date absent leave of the Court.
                                                         1
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               Deadline                                                  Activity

    July 16, 2021                       Deadline for Defendant’s final amended pleadings. A motion
                                        for leave to amend is not necessary. 3

    6 weeks after disclosure of         Deadline to object to any other party’s expert witnesses.
    an expert is made by a              Objections shall be made by a motion to strike or limit expert
    party.                              testimony and shall be accompanied by a copy of the expert’s
                                        report in order to provide the court with all the information
                                        necessary to make a ruling on any objection.

    December 3, 2021                    Deadline for motions to dismiss, motions for summary
                                        judgment, or other dispositive motions.

    November 19, 2021                   All discovery shall be commenced in time to be completed by
                                        this date.

    January 21, 2022                    Mediation must occur by this date.

    December 15, 2021                   Deadline by which the parties shall notify the Court of the
                                        name, address, and telephone number of the agreed-upon
                                        mediator, or request that the Court select a mediator, if they are
                                        unable to agree on one.

    February 17, 2022                   Notice of intent to offer certified records.

    February 17, 2022                   Counsel and unrepresented parties are each responsible for
                                        contacting opposing counsel and unrepresented parties to
                                        determine how they will prepare the Joint Final Pretrial Order,
                                        Joint Proposed Jury Instructions and Verdict Form (or Proposed
                                        Findings of Fact and Conclusions of Law in non-jury cases).

    February 21, 2022                   Deposition designations due. Each party who proposes to offer
                                        a deposition by video or transcript shall serve on all other
                                        parties a disclosure identifying the line and page numbers to be
                                        offered.
                                        All other parties will have seven calendar days to serve a
                                        response with any objections and requesting cross examination
                                        line and page numbers to be included. Counsel must consult on
                                        any objections and only those which cannot be resolved shall be
                                        presented to the Court.

3
    No amended pleadings may be filed after this date absent leave of the Court.
                                                           2
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             Deadline                                                  Activity

                                     In the case of a video deposition designation, the party who
                                     filed the initial designation is responsible for preparation of the
                                     final edited video in accordance with all parties’ designations
                                     and the court’s rulings on objections.


    March 1, 2022                    Motions in limine are due.
                                     File Joint Final Pretrial Order.

    March 17, 2022                   Responses to motions in limine are due. 4
                                     File unresolved objections to witnesses, deposition extracts, and
                                     exhibits, listed in pre-trial order.

    March 17, 2022                   Proposed Jury Instructions / Verdict Form (or Proposed
                                     Findings of Fact and Conclusions of Law.


    Date to be set by the            If numerous motions are pending, the Court may set a hearing to
    Court.                           consider all pending motions and objections.

    April 18, 2022                   Final Pretrial Conference. The parties should be prepared to try
                                     the case by this date.

    April 25, 2022                   The Court will confer with the parties to set a firm trial date


                                                 DISCOVERY

        Disclosure. The parties are reminded of the requirement, set out in the Court’s initial Order
Governing Proceedings, to have already disclosed, without awaiting a discovery request,
information in addition to that required by Fed. R. Civ. P. 26, including names of persons likely to
have, and documents containing, information “relevant to the claim or defense of any party.” If
there are any questions about whether information is “relevant to the claim or defense of any
party,” review Local Rule CV-26(d).




4
  To save time and space respond only to items objected to. All others will be considered to be agreed. Opposing
counsel shall confer in an attempt to resolve any dispute over the motions in limine within five (5) calendar days of
the filing of any response. The parties shall notify the Court of all issues which are resolved.
                                                         3
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       The parties are excused from the pretrial disclosure requirements set forth in Federal Rule
of Civil Procedure 26(a)(3), as such disclosure is cumulative of this Co urt’s pre-trial order
procedures.

        The parties shall serve initial, supplemental, and amended disclosures, discovery requests,
written discovery responses, deposition notices, and any other notices or documents that are not e-
filed with the ECF system via email pursuant to Local Rule CV-5(d).

        The parties shall comply with Local Rule CV-34(c)’s requirements to maintain
confidentiality of all medical records, mental health records, and earning records obtained via
authorizations provided by Plaintiff under Local Rule CV-34(c) and will expand the category of
confidential documents to include any medical records, mental health records, and earning records
that Plaintiff voluntarily produces.

        The parties shall limit the number of Requests for Production to no more than forty-five
(45) requests.

       Discovery Disputes. In the event the parties encounter a discovery dispute, no motions to
compel may be filed absent leave of the Court. If the parties are unable to resolve the dispute
without court intervention, the parties must then call the Court’s chambers to schedule a telephone
conference regarding the subject matter of the dispute prior to filing any motion to compel. After
reviewing the dispute, the Court will resolve the dispute or order the parties to file an appropriate
motion.

         502(d) Inadvertent Disclosure. If a party inadvertently discloses to a receiving party
privileged information or work product materials, the disclosing party may so advise the receiving
party in writing and request and obtain return of the inadvertently produced items; and the
receiving party shall not keep any copies of such information or materials. No party to this action
shall, after such notice, assert that said disclosure waived any privilege or protection, and, pu rsuant
to Federal Rule of Evidence 502(d), no such waiver shall occur. The provisions of this paragraph
shall not apply to any disclosure when that disclosure is made by the disclosing party at trial or in
support of any position taken in Court during pre-trial proceedings.

                                          COMPLIANCE

        A party is not excused from the requirements of this scheduling order by virtue of the fact
that dispositive motions are pending, the party has not completed its investigation, the party
challenges the sufficiency of the opposing party’s disclosure or because another party has failed
to comply with this order or the rules.

                                                   4
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             Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
    Procedure or this order may result in the exclusion of evidence at trial, the imposition of sanctions
    by the Court, or both. If a fellow member of the Bar makes a just request for cooperation or seeks
    scheduling accommodation, a lawyer will not arbitrarily or unreasonably withhold consent.
    However, the Court is not bound to accept agreements of counsel to extend deadlines imposed by
    rule or court order. See Local Rule AT-3(j).

                                           OTHER MATTERS

    1.    Please note the amendments to the Local Rules regarding motion practice. If a document
          filed electronically exceeds ten pages in length, including attachments, a paper copy of the
          filed document must be sent contemporaneously to the undersigned’s chambers in Sherman.
          See Local Rule CV-5(a)(9). Courtesy copies over twenty pages long should be bound to the
          left, and voluminous exhibits should be separated by dividers.

    2.    If necessary, the parties should notify the Court if assistance is needed in selectin g a
          mediator, or if the parties are interested in having this case submitted to a Magistrate Judge
          for settlement conference.

    3.    Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and Local Rule
.         CV-7(f). The parties are reminded that “[t]he court need not wait for the reply or sur-reply
          before ruling on the motion.” Local Rule CV-7(f) (emphasis added).

    4.     Courtroom Opportunities for Newer Attorneys
          If a party is interested in having a Newer Attorney argue a motion, after the motion is ripe,
          the party should contact the chambers of the Magistrate Judge to request oral argument and
          inform chambers that a Newer Attorney will argue the motion or a portion of the motion.

           So ORDERED and SIGNED this 19th day of May, 2021.




                                                  ____________________________________
                                                  KIMBERLY C. PRIEST JOHNSON
                                                  UNITED STATES MAGISTRATE JUDGE




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